Case 3:08-cv-05745-BHS Document 32-2 Filed 04/26/10 Page 1 of 17

EXHIBIT 1
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HONORABLE FRANKLIN D. BURGESS

UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF WASHINGTON
AT TACOMA

| TODD and ANNE ERICKSON, individually and_)

 

 

the marital community comprised thereof, )
) NO. C08-5745-FDB
Plaintiffs, )
) PLAINTIFFS’ FIRST REQUESTS FOR
v. ) ADMISSION WITH DEFENDANT’S
) RESPONSES THERETO
MICROAIRE SURGICAL INSTRUMENTS, )
LLC, a Virginia Limited Liability Company doing )
business in the State of Washington, )
: )
Defendant. )
)
TO: Todd and Anne Erickson, Plaintiffs

AND TO: Tony Shapiro and Marty McLean, Attorneys for Plaintiffs
COMES NOW Defendant MicroAire Surgical Instruments, LLC (“MicroAire”) and
submits its responses to Plaintiffs’ First Requests for Admission as follows:

General Objections
These objections apply generally to all of the discovery requests.

Objection to Scope.of Discovery Requests
Without limiting the generality of this objection, MicroAire objects to all discovery requests to
the extent that they (1) go beyond the scope of discovery provided by the applicable Civil and

Local Rules, or (2) are not reasonably calculated to lead to the discovery of admissible evidence.

{EHG780110.DOC; 1\12459.000005\ } OGDEN MURPHY WALL. ACE, P.L.L.C.
PLAINTIFFS’ FIRST REQUESTS FOR ADMISSION WITH 1601 Fifth Avenue, Suite 2100
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Privileged and Trial Preparation Materials
MicroAire objects to all discovery requests to the extent they call for information or documents
that fall within any relevant privilege, including the attorney/client privilege or the work product
doctrine, or which constitute trial preparation materials within the meaning of the Civil and Local
Rules.
No Waiver
Nothing set forth in MicroAire’s specific objection is intended as or should be construed as a

waiver of the above general objections, or of any other specific objection set forth.

II. - REQUESTS FOR ADMISSION
REQUEST FOR ADMISSION NO. 1: Admit that John Pascaloff was the representative
designated by MicroAire Surgical Instruments, LLC (“MicroAire”) to appear in response to
plaintiff's Second Amended Notice of 30(b)(6) Deposition.
RESPONSE:

Admit.

REQUEST FOR ADMISSION NO. 2: Admit that John Pascaloff was the only representative
designated by MicroAire to appear in response to plaintiff's Second Amended Notice of 30(b)(6)
Deposition.

RESPONSE:

Admit.

REQUEST FOR ADMISSION NO. 3: Admit that John Pascaloff is the Director of Engineering

for MicroAire.

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RESPONSE:
Objection. This request is vague as to timeframe. Notwithstanding and subject to these
objections, MicroAire responds as follows: Deny. Mr. Pascaloff’s current title is “Engineering

Group Director.”

REQUEST FOR ADMISSION NO. 4: Admit that John Pascaloff has been the Director of
Engineering for MicroAire since at least 2001.

RESPONSE: |

Deny. Admit that Mr. Pascaloff has been the Engineering Group Director since at least

2001.

REQUEST FOR ADMISSION NO. 5: Admit that since 1997, John Pascaloff was the primary

signatory on all fault tree analysis conducted for power instruments manufactured by MicroAire.

RESPONSE:

Objection. The terms “primary” and “power instruments” are undefined and ambiguous.
Notwithstanding and subject to these objections, MicroAire responds as. follows: Deny Mr.
Pascaloff was the primary signatory on all fault tree analyses conducted for power instruments
manufactured by MicroAire. Since approximately 1997, Mr. Pascaloff served as a signatory on
fault tree analyses for the MicroAire 2910 pneumatic drill. Other persons also served as

signatories, including representatives from the marketing and quality assurance departments.

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Additionally, other engineers served as signatories.

REQUEST FOR ADMISSION NO. 6: | Admit that the MicroAire 2910-100 is a power
instrument.

RESPONSE:

Objection. The term “power instrument” is undefined and vague. Notwithstanding and
subject to these objections, MicroAire responds as follows: Admit that the MicroAire 2910-100

is a pneumatic power instrument.

REQUEST FOR ADMISSION NO. 7: Admit that the only risk identified by John Pascaloff
arising from improper cleaning of the MicroAire 2910-100 was that the burr may become

overheated.
RESPONSE:

Objection. This request is vague and ambiguous. Notwithstanding and subject to these
objections, MicroAire responds as follows: Deny that an overheating burr is the only risk
associated with improper cleaning and/or maintenance. Improper cleaning and/or maintenance
may cause performance problems. Improper maintenance, including, but not limited to, third

party repairs, may change the decibel level.

REQUEST FOR ADMISSION NO. 8: Admit that there is no record of MicroAire analyzing the

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risk of excessive noise being generated by the MicroAire 2910-100 surgical drill prior to the

commencement of this lawsuit.

RESPONSE:

Objection. The term “excessive noise” is vague and undefined. Notwithstanding and
subject to these objections, MicroAire responds as follows: Admit. Deny noise excessive, given
the decibel level and duration of use. Deny recorded analysis necessary, given the decibel level

and duration of use.

REQUEST FOR ADMISSION NO. 9: Admit that there is no record of MicroAire analyzing
whether the noise generated by the MicroAire 2910-100 surgical drill complied with applicable

OSHA standards prior to commencement of this lawsuit.

RESPONSE:

Objection. This request is vague and ambiguous, as it does not identify which “OSHA
standards” plaintiffs deem “applicable.” Notwithstanding and subject to these objections,
MicroAire responds as follows: Admit. Deny recorded analysis necessary, given the decibel

level and duration of use.

REQUEST FOR ADMISSION NO. 10: Admit that MicroAire did not document whether
customers registered complaints regarding noise levels generated by its surgical drills prior to

commencement of this lawsuit.

RESPONSE:
Objection. The term “surgical drills” is undefined and vague. The MicroAire 2910

pneumatic drill is the only “surgical drill” relevant to this litigation. Notwithstanding and subject

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to these objections, MicroAire responds as follows: Deny.

REQUEST FOR ADMISSION NO. 11: Admit that MicroAire did not provide consumers with

any warnings that the 2910-100 surgical drill may generate excessive noise levels.

" RESPONSE:

Objection. The term “excessive noise levels” is vague and undefined. Notwithstanding
and subject to these objections, MicroAire responds as follows: Deny noise levels were
excessive. Deny MicroAire had notice of “excessive noise levels.” Deny MicroAire had a duty
to warn of an alleged risk of which it had no notice. Admit warnings did not address noise

levels. Deny such warnings were necessary, given the decibel level and duration of use.

REQUEST FOR ADMISSION NO. 12: Admit that MicroAire did not provide consumers with

any warnings that the 2910-100 surgical drill may cause noise induced hearing loss.

RESPONSE:

Objection. The term “noise induced hearing loss” is vague and undefined.
Notwithstanding and subject to these objections, MicroAire responds as follows: Deny
MicroAire had notice of possible noise induced hearing loss. Deny MicroAire had a duty to warn
of an alleged risk of which it had no notice. Deny that the 2910-100 pneumatic drill caused noise

induced hearing loss. Admit warnings did not address possibility of noise induced hearing loss.

REQUEST FOR ADMISSION NO. 13: Admit that the instructional manual(s) provided with the

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MicroAire 2910-100 surgical drill did not inform consumers to utilize hearing protection while

operating the product.

RESPONSE:

Deny MicroAire had notice of possible noise induced hearing loss. Deny MicroAire had
a duty to warn of an alleged risk of which it had no notice. Deny that the 2910-100 pneumatic

drill caused noise induced hearing loss. Admit warnings did not address hearing protection.

REQUEST FOR ADMISSION NO. 14: Admit that the instructional manual(s) provided with the
MicroAire 2910-100 surgical drill did not instruct consumers that the product may cause noise

induced hearing loss.

RESPONSE:

Objection. The term “noise induced hearing loss” is vague and undefined.
Notwithstanding and subject to these objections, MicroAire responds as follows: Deny
MicroAire had notice of possible noise induced hearing loss. Deny MicroAire had a duty to warn
of an alleged risk of which it had no notice. Deny that the 2910-100 pneumatic drill caused noise

induced hearing loss. Admit instruction manual did not address alleged noise induced hearing

loss.

REQUEST FOR ADMISSION NO. 15: Admit that oral maxillofacial surgeons were the target
purchasers for the MicroAire 2910-100 surgical drill.

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RESPONSE:
Admit.

REQUEST FOR ADMISSION NO. 16: Admit that prior to working for MicroAire, John

Pascaloff was the product development manager for Hall.

RESPONSE:
Admit that prior to his employment at MicroAire, Mr. Pascaloff worked at Hall as a

Manager of Product Development.

REQUEST FOR ADMISSION NO. 17: Admit that while employed by Hall, John Pascaloff’s

 

job duties included the development of new Hall/ConMed Linvatec (“Hall”) surgical

instruments.
RESPONSE:

Deny that Mr. Pascaloff was employed by ConMed Linvatec. Admit he was employed by
Hall. Admit his job duties included supporting the development of new Hall surgical

instruments.

REQUEST FOR ADMISSION NO. 18: Admit that John Pascaloff identified Hall’s Surgairtome

Two as a competitive product to MicroAire’s 2910-100 surgical drill prior to the 2910-100 being

discontinued.

RESPONSE:

Admit.
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REQUEST FOR ADMISSION NO. 19: Admit that the MicroAire’s 2910-100 surgical drill did

not utilize a noise muffling system.

RESPONSE:

Objection. The term “noise muffling system” is vague and undefined. Notwithstanding

and subject to these objections, MicroAire responds as follows: Deny.

REQUEST FOR ADMISSION NO. 20: Admit that the MicroAire’s 2910-100 surgical drill did

not contain component parts designed to lessen noise.

RESPONSE:

Objection. The term “lessen noise” is vague and undefined. Notwithstanding and subject

to these objections, MicroAire responds as follows: Deny.

REQUEST FOR ADMISSION NO. 21: Admit that while Pascaloff was employed by Hall, the

Surgairtome Two surgical drill utilized an exhaust muffling device.

RESPONSE:

- Admit that the Surgairtome Two surgical drill utilized a device labeled as a “muffler”

during Mr. Pascaloff’s employment at Hall. Deny that this device functioned as a muffler to

lessen noise.

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REQUEST FOR ADMISSION NO, 22: Admit that, while employed by Hall, John Pascaloff
signed off on the engineering design drawings for the exhaust muffling component of the

Surgairtome Two surgical drill.

RESPONSE:

Admit that Mr. Pascaloff signed engineering drawings for a component labeled as a

“muffler” while employed by Hall. Deny that this device functioned as a muffler to lessen noise.

REQUEST FOR ADMISSION NO. 23: Admit that, according to John Pascaloff, one of the
Purposes of the exhaust muffling device utilized by Hall on its Surgairtome Two surgical drill

was to lessen noise.

RESPONSE:
Objection. This request is vague and ambiguous. Notwithstanding and subject to these

objections, MicroAire responds as follows: Deny.

DATED this 7th day of April, 2010.

OGDEN MURPHY WALLACE, PLLC

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By Chal sar

Lee Corkrurh, WSBA No. 6585
Emily Harris Gant, WSBA No. 35679
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Attorneys for Defendant

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VERIFICATION
STATE OF )
) ss.
COUNTY OF )
I, , certify under penalty of perjury under the laws of the
State of that the foregoing answers and responses are true and correct.
DATED this __ day of April, 2010.
SUBSCRIBED AND SWORD TO before me this___ day of , 2010.
NOTARY PUBLIC in and for the State of
_, residing at
My commission expires:
Signed by:
{BHG780110.DOC; 112459.0000051 } OGDEN MURPHY WALLACE, P.L.L-C.
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VERIFICATION

 

STATE OF __\ t 1 ca )
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I, C huis Spsdfonel, certify under penalty of perjury under the laws of the
State of ae ha the foregoing answers and responses are true and correct.
DATED this 7 day of April, 2010. 4 DO
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NOTARY FUBUC ip iff and for the State of
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(EHG7801 10, DOC, 1\12459,00000% ) OGDEN MURPHY WALLACE, P.L.L.C,
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EXHIBIT 2
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Attorney

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April 9, 2010
VIA EMAIL & U.S. MATL

Ms. Emily Harris Gant
Ogden Murphy Wallace PLLC
1601 Fifth Avenue, Suite 2100
Seattle, Washington 98101

Re: Erickson v. MircroAire
Deficient Discovery Responses

Ms. Gant:

During our discovery conference earlier today, we agreed to provide our concerns
regarding your client’s responses to our requests for admission. You agreed to review

our concerns and your client’s answers, and to reconvene our discovery conference on
Monday, April 12, 2010.

As explained during our call, our requests were carefully worded based upon
testimony provided by MicroAire’s 30(b)(6) witness, John Pascaloff. Your client has not
offered any changes to Mr. Pascaloff’s testimony as required by Civil Rule 30(e). This
30(b)(6) testimony is now binding on your client. ,

Inexplicably, your client failed to fully answer all but five of the twenty-three
requests for admissions we served. The remaining responses contain inappropriate
objections or denials that are contradicted by Mr. Pascaloff’s testimony.

As one example, when asked to admit that the only problem resulting from
improper cleaning of the MicroAire 2910-100 drill was that it could become overheated,
your client made several inappropriate objections and offered a general denial. However,
during Mr. Pascaloff’s deposition, he testified as follows:

Q. You said one of the problems with the 2910-100 was a
cleaning problem?

A. Yes.

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Ms. Emily Harris Gant
April 9, 2010
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Q. Explain that to me.

A. The cleaning procedure is well specified in the
instructions for use. One of the primary things that make it --
to get the instrument, the nose clean is to remove the burr .
guard, which unscrews. It is spelled out. The

trouble is nobody ever did that, so a lot of debris would
remain in the collet and would, over time, with sterilization,
would not get flushed out, and it would cause issues with heat
in the nose or the burrs not to be able to be inserted.

Q. Okay. So, just so I understand it, if people didn't clean
the nose correctly, the risk was the burr would get
overheated and the patient might get burnt?

A. That's correct.

Q. All right. Any other risks associated
with not cleaning the instrument properly?

A. That's it. That is the risk.

Several of your client’s other responses are likewise inappropriate and
dissembling. Your client repeatedly offers objections and denials that are contradicted by
Mr. Pascaloff’s sworn testimony.! Please be e prepared to discuss each of these responses
during our discovery conference.

You have an obligation pursuant to Civil Rule 26(g) to verify that your objections
and answers are well-founded based upon existing law or facts. Your requests for
admissions responses satisfy neither requirement.

We would prefer that your client agree to revisit its requests for admissions
responses voluntarily. However, we are prepared to bring the current inadequacies to the
Court’s attention, should your client stand by its current responses.

 

1 See Response Nos. 3 — 14; 19-23.

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Ms. Emily Harris Gant
April 9, 2010
Page 3

We will phone your office on Monday, April 12, 2010, at 3:30 p.m. to conduct
our formal discovery conference.

Respectfully,
HAGENS BERMAN SOBOL SHAPIRO LLP

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